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                        EXHIBIT 2
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☰ MENU

                                                             Today is Friday, October 13, 2023                        RSS feed



   About Mark Walters

   Mark Walters is the host of two nationally syndicated radio broadcasts, Armed American Radio
   and Armed American Radio’s Daily Defense with Mark Walters. He is the Second Amendment
   Foundations 2015 Gun Rights Defender of the Year award recipient and co-author of several
   books, including Grilling While Armed, Lessons from Armed America, and Lessons from
   Unarmed America. Mark is also a member of the Board of Directors of The Citizens Committee
   for the Right to Keep and Bear Arms. Follow Mark and support pro-gun media.


   @aarradio Facebook On The Web




   ARTICLES


Second Amendment Activists ~ Now                          Surviving the Coming Days, How Gun
Is NOT the Time To Retreat, Hold the                      Rights Win – Part Two
Line!




                                                          Ammoland Inc. Posted on September 5, 2021 by Mark Walters

                                                          This is a war. A war being thrust upon you by
                                                          several different divisions of the same anti gun,
Ammoland Inc. Posted on October 5, 2022 by Mark Walters
                                                          enemy army of freedom hating sycophants.
We don’t win our rights back by standing down
and trying to appease the biased media, gun-
                                                          READ MORE >>>
grabber groups, & anti-rights politicians.
                    Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 3 of 12
READ MORE >>>




Surviving The Coming Storm
Attacking Your Rights




Ammoland Inc. Posted on September 4, 2021 by Mark Walters

Get used to it. It isn’t going away anytime soon,
and the progressive media are out in full force,
having a collective orgasm over their ability to
attack you…

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Atlanta Shootings, Too Close To                             Being Part of the Gun Community or
Home, Gun Owners … Stay                                     Culture Does NOT Make You a Gun
Dangerous                                                   Activist ~ VIDEO




Ammoland Inc. Posted on March 18, 2021 by Mark Walters
                                                            Ammoland Inc. Posted on February 5, 2021 by Mark Walters
                   Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 4 of 12
Too many of us have been fooled to believe it              The activist, is a hardcore, single-issue
will never happen to us. Don’t be one of them.             individual and works their ass off to fight for their
Don’t give up your guns and stay very                      rights. That does NOT include voting for avowed
dangerous.                                                 gun-grabbers. Ever.

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XINSURANCE Firearms Insurance is
Making A Difference In People’s Lives




Ammoland Inc. Posted on December 8, 2020 by Mark Walters

These are scary times and my husband and I
had liability coverage, but the “main company”
got sued in New York so that company decided
to no longer underwrite carry insurance, which
left us high and..

READ MORE >>>




XINSURANCE – Concealed Carry                               Now Is The Time For Responsible
Liability Coverage for Gun Owners                          Civil Disobedience ~ VIDEO
with “A” Rated Insurer
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                                                            Video | Ammoland Inc. Posted on April 14, 2020 by Mark Walters
Ammoland Inc. Posted on October 5, 2020 by Mark Walters
                                                          Tyrants hate that we can make our own
Just as you have taken the steps to protect your
                                                          decisions. We must get back to normal as soon
family with your firearm purchase,
                                                          as possible, even if it means violating a
XINSURANCE is here to protect you with
                                                          tyrannical order.
Concealed Carry Weapon insurance.
                                                          READ MORE >>>
READ MORE >>>




I Thought Georgia Was A Free State?
Time for Constitutional Carry




Ammoland Inc. Posted on April 8, 2020 by Mark Walters

The usual suspects are taking advantage of the
national health emergency to strip the 2A rights
of citizens. But, never in my wildest dreams did I
believe I would see something similar in
Georgia.

READ MORE >>>
                    Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 6 of 12
Those Who Would Give Up Liberty for                                  Second Amendment Sanctuary
Safety, Deserve Neither                                              Movement to Legislators & Anti-Gun
                                                                     Media, Come & Take Them




Ammoland Inc. Posted on March 19, 2020 by Mark Walters

As gun owners, we’ve been witness to the
actions of men like Cuomo, Murphy, and just                          Ammoland Inc. Posted on December 23, 2019 by Mark Walters

about every other Socialist (formerly known as                       Shannon Watts and the professional gun
Democrats), for years.                                               prohibitionists are not happy about the new
                                                                     tactic, as evident by her recent statements in a
READ MORE >>>                                                        panic press release from Everytown for Gun
                                                                     Safety.

                                                                     READ MORE >>>
Shifting Political Whims & Winds To
Determine Constitutional
Rights..Shut Up Already




   Video | Ammoland Inc. Posted on October 1, 2019 by Mark Walters

This is an incredible admission from an attorney,
asking the Supreme Court of the USA to allow
public opinion and shifting political whims and
winds to determine our constitutional rights.
                    Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 7 of 12
READ MORE >>>




The Great American Gun Grab of                                         No Longer the NASCAR I Thought I
2019                                                                   Knew




   Video | Ammoland Inc. Posted on September 4, 2019 by Mark Walters

We’ve been right about this all along. We saw
                                                                       Ammoland Inc. Posted on August 27, 2019 by Mark Walters
this coming and knew it was inevitable. We
                                                                       At one time it was evident to me that NASCAR
spoke about it, wrote about and we talked about
                                                                       team members shared the same values
it to anyone who would listen.
                                                                       including the love of God, country, fast cars,
                                                                       BBQ, and you guessed it, guns. But now…
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                                                                       READ MORE >>>



Democrats’ War on Your Gun Rights
Compared to The Truth ~ VIDEO                                          Gun Control Plus Logic Equals
                                                                       Crickets




                                                                       Ammoland Inc. Posted on July 30, 2019 by Mark Walters

Ammoland Inc. Posted on August 26, 2019 by Mark Walters                As I’ve gotten older and the years tick by, the
                                                                       sound of crickets also reminds me,
                    Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 8 of 12
Another Town Hall Meeting With Cochise County           metaphorically speaking of the music of gun-
Sheriff, Mark Dannels exposed the disturbing            grabber silence.
truth that the Democrats and mainstream media
refuse to tell you.                                     READ MORE >>>


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Grilling While Armed – The Top 20                       The Town Too Tough To Die –
Recipes                                                 Celebrating the Second Amendment
                                                        in Tombstone, AZ




                                                        Ammoland Inc. Posted on July 12, 2019 by Mark Walters

                                                        As we gathered in front of the world famous
                                                        Crystal Palace Saloon for a live sports hit with
                                                        Curt Schilling the prospect of the live, on-camera
                                                        interview took a radical left turn.

Ammoland Inc. Posted on July 15, 2019 by Mark Walters
                                                        READ MORE >>>
Mark Walters & George Hill announce the
release of their long-awaited BBQ cookbook,
Grilling While Armed – The Top 20 Recipes, How
to get off the gas & become your neighborhood
BBQ pit boss.

READ MORE >>>




I Am The NRA – Or So I Thought
                    Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 9 of 12
                                                         Why President Trump “Thinks” He’s
                                                         Pro Gun




Ammoland Inc. Posted on June 24, 2019 by Mark Walters

What is essential is that Wayne LaPierre must
retire, and do it now, for the good of the
organization. Knock, knock, Wayne – members
are leaving, fundraising is drying up, big donors
are pulling out..
                                                         Ammoland Inc. Posted on June 14, 2019 by Mark Walters

                                                         Unfortunately, for Trump as he heads into what
READ MORE >>>
                                                         will be a vicious and hateful presidential
                                                         campaign, he has no room to spare. Trump
                                                         needs every single one of us – gun owners – to
                                                         cast a vote for him.
Freedom Haters Repeat After Me –
There Is No Debate!                                      READ MORE >>>




                                                         What Does “DEFEATING” Gun
                                                         Owning America Look Like?




Ammoland Inc. Posted on June 7, 2019 by Mark Walters

The political left likes to refer to it as a “debate,”
as if somehow the nations’ Founding Father’s
                                                            Video | Ammoland Inc. Posted on May 31, 2019 by Mark Walters
didn’t know what they were doing when they
                                                         They smell blood and are circling their prey.
wrote the Second Amendment to the U.S
                                                         Every lefty politician, every useful idiot David-
Constitution.
                                                         Hoggish teenage know-it-all and every
                   Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 10 of 12
READ MORE >>>                                          progressive Kool-Aide drinker voter now actually
                                                       believes they can

                                                       READ MORE >>>

Self Defense Biased Media, the Real
Victim is the Truth
                                                       NRA Suits. Ever Heard of Buy One
                                                       Get One Free?




Ammoland Inc. Posted on May 24, 2019 by Mark Walters

Unfortunately, the writer of this piece allows his
apparent disdain for CCW holders to cloud his
objectivity if he had any in the first place.          Ammoland Inc. Posted on May 23, 2019 by Mark Walters

                                                       America needs a strong NRA, and our rights
READ MORE >>>                                          need a strong NRA. I want to and plan on
                                                       remaining an NRA member, but some things
                                                       must change at the top.


Making Gun Choices – Comfort,                          READ MORE >>>

Reliability, Power, Simplicity in that
Order
                                                       To NRA or Not to NRA




Ammoland Inc. Posted on May 3, 2019 by Mark Walters

What inspired me to write this today was a
comment I received from a friend who
                                                       Ammoland Inc. Posted on April 24, 2019 by Mark Walters
                   Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 11 of 12
mentioned I should have “talked my father into a         The Board of Directors must step to the plate
larger caliber”.                                         and deep clean whatever is rotting or step aside
                                                         and let someone else get it done.
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                                                         READ MORE >>>




You Can’t Fix Stupid When it Comes
to Gun Banners Like Moms Demand                          Lawsuits, Bump Stocks & My 2020
Action                                                   Election Predictions




                                                         Ammoland Inc. Posted on March 29, 2019 by Mark Walters
Ammoland Inc. Posted on April 12, 2019 by Mark Walters
                                                         In December 2018, the NRA made a lame
With everything we know about mass killers
entering gun-free zone schools & having their            attempt to walk it back telling us this was a
                                                         better option than a potential “legislative over-
way until someone else with a gun shows up, I
                                                         reaction.”
shake my head in disbelief that there are still
people who feel..
                                                         READ MORE >>>

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America’s Gun-Haters Are Only                            Who’s the Lead Dog? Money vs
Biding Their Time                                        Power
                   Case 1:23-cv-03122-MLB Document 35-3 Filed 10/13/23 Page 12 of 12




                                                              Ammoland Inc. Posted on March 8, 2019 by Mark Walters

                                                              Michael Bloomberg knows he can do more to
Ammoland Inc. Posted on March 20, 2019 by Mark Walters        destroy the Second Amendment from the
Truth is the worst enemy of the freedom haters                sidelines rather than as a candidate. That’s not
like CT’s Chris Murphy (D) gun banner, they’re                speculation. He said it himself.
just too dumb to know it.
                                                              READ MORE >>>
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